Case 0:19-cv-62018-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 1 of 10

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PATRICIA KENNEDY, Individually,
Plaintiffs,

v. Case No.

TRUMAN HOTEL, INC. d/b/a Truman Hotel, :

Defendant.

COMPLAINT
(Injunctive Relief Demanded)

Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other
individuals similarly situated, (sometimes referred to as “Plaintiff’), hereby sues the Defendant,
TRUMAN HOTEL, INC. , a Florida corporation d/b/a Truman Hotel, (sometimes referred to as
“Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to
the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1. Plaintiff is a resident of Broward County, Florida, is sui juris, and qualifies as an
individual with disabilities as defined by the ADA. Plaintiff is unable to engage in
tie major life activity of walking more than a few steps without assistive devices.
Instead, Plaintiffis bound to ambulate in a wheelchair or with a cane or other support
and has limited use of her hands. She is unable to tightly grasp, pinch or twist her
wrist to operate equipment. When ambulating beyong the comfort of her own home,

Plaintiff must primarily rely on a wheelchair. Plaintiff requires accessible handicap

parking spaces located closet to the entrances of a facility. The handicap and
Case 0:19-cv-62018-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 2 of 10

access aisles must be of sufficient width so that she can embark and disembark
from a ramp into her vehicle. Routes connecting the handicap spaces and all
features, goods and services of a facility must be level, properly sloped,
sufficiently wide and without cracks, holes or other hazards that can pose a
danger of tipping, catching wheels or falling. These areas must be free of
obstructions or unsecured carpeting that make passage either more difficult or
impossible. Amenities must be sufficiently lowered so that Plaintiff can reach
them. She has difficulty operating door knobs, sink faucets, or other operating
mechanisms that tight grasping, twisting of the wrist or pinching. She is hesitant
to use sinks that have unwrapped pipes, as such pose a danger of scraping or
burning her legs. Sinks must be at the proper height so that she can put her legs
underneath to wash her hands. She requires grab bars both behind and beside a
commode so that she can safely transfer and she has difficulty reaching the flush
control if it is on the wrong side. She has difficulty getting through doorways if
they lack the proper clearance.

2: Plaintiff is an advocate of the rights of similarly situated disabled persons and is a
"tester" for the purpose of asserting her civil rights and monitoring, ensuring, and
determining whether places of public accommodation and their websites are in
compliance with the ADA.

3. According to the county property records, Defendant owns a place of public

accommodation as defined by the ADA and the regulations implementing the

2
Case 0:19-cv-62018-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 3 of 10

ADA, 28 CFR 36.201(a) and 36.104. The place of public accommodation that the
Defendant owns is a place of lodging known as Truman Hotel, 611 Truman Ave.,
Key West, FL 33040, and is located in Monroe County, Florida (hereinafter
Property").

4. Venue is properly located in the SOUTHERN DISTRICT OF FLORIDA because
the injury occurred in this district.

5. Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given
original jurisdiction over actions which arise from the Defendant’s violations of
Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seg. See
also 28 U.S.C. § 2201 and § 2202.

6. As the owner of the subject place of lodging, Defendant is required to comply
with the ADA. As such, Defendant is required to ensure that it's place of lodging
is in compliance with the standards applicable to places of public accommodation,
as set forth in the regulations promulgated by the Department Of Justice. Said
regulations are set forth in the Code Of Federal Regulations, the Americans With
Disabilities Act Architectural Guidelines ("ADAAGs"), and the 2010 ADA
Standards, incorporated by reference into the ADA. These regulations impose
requirements pertaining to places of public accommodation, including places of
lodging, to ensure that they are accessible to disabled individuals.

7. More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following
requirement:

Reservations made by places of lodging. A public accommodation that owns,
Case 0:19-cv-62018-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 4 of 10

leases (or leases to), or operates a place of lodging shall, with respect to
reservations made by any means, including by telephone, in-person, or through a
third party -
(i) Modify its policies, practices, or procedures to ensure that individuals
with disabilities can make reservations for accessible guest rooms during
the same hours and in the same manner as individuals who do not need
accessible rooms;
(11) Identify and describe accessible features in the hotels and guest rooms
offered through its reservations service in enough detail to reasonably
permit individuals with disabilities to assess independently whether a
given hotel or guest room meets his or her accessibility needs;
(111) Ensure that accessible guest rooms are held for use by individuals
with disabilities until all other guest rooms of that type have been rented
and the accessible room requested is the only remaining room of that type;
(iv) Reserve, upon request, accessible guest rooms or specific types of
guest rooms and ensure that the guest rooms requested are blocked and
removed from all reservations systems; and
(v) Guarantee that the specific accessible guest room reserved through its
reservations service is held for the reserving customer, regardless of

whether a specific room is held in response to reservations made by others.

8. These regulations became effective March 15, 2012.
Case 0:19-cv-62018-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 5 of 10

10.

Defendant, either itself or by and through a third party, implemented, operates,
controls and or maintains websites for the Property which contains an online
reservations system. These websites are located at www.trumanhotel.com/. This
term also includes all other websites owned and operated by Defendant or by third
parties to book or reserve guest accommodations at the hotel, including
booking.com, priceline.com and agoda.com. The purpose of these websites is so
that members of the public may reserve guest accommodations and review
information pertaining to the goods, services, features, facilities, benefits,
advantages, and accommodations of the Property. As such, these websites are
subject to the requirements of 28 C.F.R. Section 36.302(e).
Prior to the commencement of this lawsuit, Plaintiff visited the websites on April
25, 28, 29 and 30, 2019 as well as May 1 and May 2, 2019 for the purpose of
reviewing and assessing the accessible features at the Property and ascertain
whether they meet the requirements of 28 C.F.R. Section 36.302(e) and her
accessibility needs. However, Plaintiff was unable to do so because Defendant
failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e).
As a result, Plaintiff was deprived the same goods, services, features, facilities,
benefits, advantages, and accommodations of the Property available to the general
public. Specifically,

(a) As to the website trumanhotel.com - There is no reference to any
accessible rooms or any option to book an accessible room. There is no

information given as to whether or where the hotel offers compliant/accessible
Case 0:19-cv-62018-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 6 of 10

roll-in showers, tubs, built in seating, commodes, grab bars, sinks, wrapped pipes,
sink and door hardware, properly located amenities, sufficient maneuvering
spaces, compliant doors, furniture, controls and operating mechanisms. There is
no information as to whether all goods, facilities and services at the property are
connected by a compliant accessible route, nor does the website contain any
information as to the accessibility of routes connecting all the features of the
hotel, the transaction counter, parking and common area restrooms. The website
does not give any information as to whether accessible rooms are on the ground
floor or if an elevator is provided within an accessible route. The website does not
give any information regarding the pool/pools having an accessible lift. The hotel
claims to have an outdoor swimming pool, vending machine, private parking but
there is no information as to whether any or all of these hotel features are
accessible.

(b) As to the booking.com website, there is no option to book an
accessible room. Although hotel amenities, room types and room amenities are
listed in detail, no information is given as to accessibility in the hotel other than
the statements “Facilities for disabled guests” and “Accessible parking”.

(c) As to the priceline.com website, there is no option to book an
accessible room. Although hotel amenities, room types and room amenities are all
listed in detail, no information is given about accessibility in the hotel other than
the statements “Handicapped rooms/facilities” and “Accessible rooms/facilities”.

(d) As to the agoda.com website, there is no option to book an
Case 0:19-cv-62018-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 7 of 10

11.

12.

13.

accessible room. Although hotel amenities, room types and room amenities are all
listed in detail, no information is given about accessibility in the hotel other than
the statements “Facilities for disabled guests”.
In the near future, Plaintiff intends to revisit Defendant's web sites and/or online
reservations system in order to test them for compliance with 28 C.F.R. Section
36.302(e) and/or to utilize the web sites to reserve a guest room and otherwise
avail herself of the goods, services, features, facilities, benefits, advantages, and
accommodations of the Property.
Plaintiff is continuously aware that the subject web sites remain non-compliant
and that it would be a futile gesture to revisit the web sites as long as those
violations exist unless she is willing to suffer additional discrimination.
The violations present at Defendant's web sites infringe Plaintiff's right to travel
free of discrimination and deprive her of the information required to make
meaningful choices for travel. Plaintiff has suffered, and continues to suffer,
frustration and humiliation as the result of the discriminatory conditions present at
Defendant's website. By continuing to operate the websites with discriminatory
conditions, Defendant contributes to Plaintiff's sense of isolation and segregation
and deprives Plaintiff the full and equal enjoyment of the goods, services,
facilities, privileges and/or accommodations available to the general public. By
encountering the discriminatory conditions at Defendant's website, and knowing
that it would be a futile gesture to return to the websitesunless she is willing to

endure additional discrimination, Plaintiff is deprived of the same advantages,
Case 0:19-cv-62018-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 8 of 10

14.

15.

16.

17.

18.

privileges, goods, services and benefits readily available to the general public. By
maintaining a web sites with violations, Defendant deprives Plaintiff the equality
of opportunity offered to the general public.

Plaintiff has suffered and will continue to suffer direct and indirect injury as a
result of the Defendant’s discrimination until the Defendant is compelled to
modify its web sites to comply with the requirements of the ADA and to
continually enter and ensure that the subject web sites remains in compliance.
Plaintiff has a realistic, credible, existing and continuing threat of discrimination
from the Defendant’s non-compliance with the ADA with respect to these
websites. Plaintiff has reasonable grounds to believe that she will continue to be
subjected to discrimination in violation of the ADA by the Defendant.

The Defendant has discriminated against the Plaintiff by denying her access to,
and full and equal enjoyment of, the goods, services, facilities, privileges,
advantages and/or accommodations of the subject website.

The Plaintiff and all others similarly situated will continue to suffer such
discrimination, injury and damage without the immediate relief provided by the
ADA as requested herein.

Defendant has discriminated against the Plaintiff by denying her access to full and
equal enjoyment of the goods, services, facilities, privileges, advantages and/or
accommodations of its place of public accommodation or commercial facility in
violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

Defendant continues to discriminate against the Plaintiff, and all those similarly
Case 0:19-cv-62018-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 9 of 10

19.

20.

situated by failing to make reasonable modifications in policies, practices or
procedures, when such modifications are necessary to afford all offered goods,
services, facilities, privileges, advantages or accommodations to individuals with
disabilities; and by failing to take such efforts that may be necessary to ensure that
no individual with a disability is excluded, denied services, segregated or
otherwise treated differently than other individuals because of the absence of
auxiliary aids and services.

Plaintiff is without adequate remedy at law and is suffering irreparable harm.
Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s
fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §
12205 and 28 CFR 36.505.

Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant
Plaintiff Injunctive Relief, including an order to require the Defendant to alter the
subject websitesto make it readily accessible and useable to the Plaintiff and all
other persons with disabilities as defined by the ADAand 28 C.F.R. Section
36.302(e); or by closing the websitesuntil such time as the Defendant cures its

violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

a.

The Court issue a Declaratory Judgment that determines that the Defendant at the
commencement of the subject lawsuit is in violation of Title III of the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

Injunctive relief against the Defendant including an order to revise its websitesto
Case 0:19-cv-62018-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 10 of 10

comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

maintain the websitesto ensure that it remains in compliance with said requirement.

e An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.
§ 12205.
d. Such other relief as the Court deems just and proper, and/or is allowable under

Title III of the Americans with Disabilities Act.
Respectfully Submitted,

Thomas B. Bacon, P.A.
644 North Mc Donald St.
Mt. Dora, FL 32757

ph. (954) 478-7811
tbb@thomasbaconlaw.com
Florida Bar. Id. No. 139262

American Justice, P.A.
412 NE 4" Street
Fort Lauderdale, FL 33301

By: /s/ Theresa B. Edwards
Theresa B. Edwards, Fla. Bar No. 252794

Theresa@americanjusticepa.com
954-592-0546
